Case 0:22-cv-60303-JIC Document 4 Entered on FLSD Docket 02/10/2022 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 22-60303-CIV-COHN/STRAUSS

 ERIC RUTENBERG,

              Plaintiff,

 v.

 CREDENCE RESOURCE MANAGEMENT LLC,

            Defendant.
 _______________________________________/

  ORDER SETTING CALENDAR CALL, TRIAL DATE, AND PRETRIAL DEADLINES
    ORDER OF REFERENCE TO UNITED STATES MAGISTRATE JUDGE FOR
                   PRETRIAL DISCOVERY MATTERS

       THIS CAUSE is before the Court upon the filing of the Complaint. The Court has

 carefully considered the complaint and is otherwise fully advised in the premises.

       Accordingly, it is ORDERED AND ADJUDGED as follows:

       1.     The above-entitled cause is hereby set for trial before the Honorable

 James I. Cohn, United States District Judge, at United States District Court at 299 East

 Broward Boulevard, Courtroom 203E, Fort Lauderdale, Florida, during the two-week

 trial period commencing Monday, August 8, 2022, at 9:00 a.m., or as soon thereafter

 as the case may be called.

       2.     The Calendar Call will be held on August 4, 2022 at 9:00 a.m.

       3.     Discovery shall commence upon service of the Complaint, as no

 Scheduling Conference will be held in this case.

       4.     Pursuant to 28 U.S.C. § 636 and the Magistrate Rules of the Local Rules

 of the Southern District of Florida the above-captioned cause is REFERRED to United
Case 0:22-cv-60303-JIC Document 4 Entered on FLSD Docket 02/10/2022 Page 2 of 3




 States Magistrate Jared M. Strauss for appropriate disposition of all pro hac vice

 motions, and all pretrial discovery motions, and all motions that relate directly to these

 motions, such as motions for extension of time, motions for reconsideration, motions for

 sanctions, and motions for mental or physical examinations. This Order does not refer

 any motion which requests a continuance or extension of the trial or pretrial scheduling

 dates.

          5.   The following pretrial deadlines shall apply in this case:

               Joinder of parties and                     April 8, 2022
               Amendment of Pleadings

               Discovery cutoff                           May 6, 2022

               Dispositive pretrial motions               May 27, 2022
               and Motions to Exclude or
               Limit Expert Testimony

               Mediation Report Deadline                  June 24, 2022

               Motions in Limine                          July 20, 2022

               Responses to Motions in Limine,            July 29, 2022
               Joint Pretrial Stipulation and
               Deposition Designations for Trial for
               Unavailable Witnesses

               Proposed Jury Instructions, and any    Calendar Call
               Counter-designations and objections to
               Deposition designations

          6.   Proposed jury instructions with substantive charges and defenses, as well

 as verdict forms, shall be in typed form and emailed to the Court. To the extent these

 instructions are based upon the Eleventh Circuit Pattern Jury Instructions, counsel shall

 indicate the appropriate Eleventh Circuit Pattern Jury Instruction upon which the

 instruction is modeled. All other instructions shall include citations to relevant

                                               2
Case 0:22-cv-60303-JIC Document 4 Entered on FLSD Docket 02/10/2022 Page 3 of 3




 supporting case law.

       7.     Plaintiff’s counsel shall serve a copy of this Order upon Defendant.

       8.     Prior to trial, counsel shall submit to the Court a typed list of proposed

 witnesses and/or exhibits. All exhibits shall be pre-labeled in accordance with the

 proposed exhibit list. Exhibit labels must include the case number.

       DONE AND ORDERED in Chambers at Fort Lauderdale, Florida, on this 9th day

 of February, 2022.




 Copy Provided:
 Magistrate Judge Jared M. Strauss
 Counsel of record via CM/ECF




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